Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 1 of 12




                                          RECEIVED AND FILED    Date: 2021.10.20
                                            CLERK’S OFFICE      10:33:58 -04'00'
                                          U.S. DISTRICT COURT
                                             SAN JUAN, P.R.     Adobe Acrobat
                                                                version:
                                                                2017.011.30202
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 2 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 3 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 4 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 5 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 6 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 7 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 8 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 9 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 10 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 11 of 12
Case 3:20-cr-00416-SCC Document 37 Filed 10/20/21 Page 12 of 12
